                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


DAVID CARDONA,

                                Plaintiff,              CIVIL ACTION

              v.                                        NO. 4:22-CV-00412

MARK A. FERGUSON et al.,

                                Defendants.


AMENDED PROPOSED JOINT DISCOVERY/CASE MANAGEMENT PLAN UNDER
                           RULE 26(f)
             FEDERAL RULES OF CIVIL PROCEDURE



  1. State where and when the meeting of the parties required by Rule 26(f) was held, and
     identify the counsel who attended for each party.
          The parties met on April 22, 2022 by phone. Jeremy D. Cutting, Kiah Duggins, and
             Jeffrey D. Stein attended on behalf of Mr. Cardona. Norman Giles and Randy
             Lopez attended on behalf of Defendants. The parties met again on May 3, 2022, to
             revisit the possibility of a consent proposed order to govern production of
             electronically stored information.

  2. List the cases related to this one that are pending in any state or federal court with the case
     number and court.
          Mr. Cardona lists Heckford v. City of Pasadena, et al., Case No. 4:20-cv-04366,
             pending before this Court.
          Defendants state that information in Heckford is not relevant to the instant case and
             list no other cases.

  3. Briefly describe what this case is about.
          This civil rights case alleges that three Pasadena Police Department officers
             conspired to fabricate evidence, including sworn statements, to frame Mr. Cardona
             for a felony offense in violation of his First, Fourth, and Fourteenth Amendment
             rights. Mr. Cardona brings this lawsuit under 42 U.S.C. § 1983, seeking declaratory
             and monetary relief, as well as other relief as the Court deems proper.

  4. Specify the allegation of federal jurisdiction.


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          The Court has jurisdiction under 28 U.S.C. §§ 1331 (action arising under the
           Constitution and federal law) and 1343(a) (action to redress deprivation of civil
           rights).

5. Name the parties who disagree and the reasons.
      None.

6. List anticipated additional parties that should be included, when they can be added, and
   by whom they are wanted.
        None.

7. List anticipated interventions.
        None.

8. Describe class-action issues.
       None.

9. State whether each party represents that it has made the initial disclosures required by
   Rule 26(a). If not, describe the arrangements that have been made to complete the
   disclosures.
        The parties will make the initial disclosures required by Rule 26(a) by May 6, 2022.

10. Describe the proposed agreed discovery plan, including:

       a. Responses to all the matters raised in Rule 26(f).

               i. (2) The parties do not currently anticipate that they will be able to promptly
                  settle or resolve the case. Disclosures required by Rule 26(a)(1) will be
                  made by May 6, 2022. The parties, as well as non-party City of Pasadena
                  (including the Pasadena Police Department), have implemented litigation
                  holds to preserve all potentially relevant evidence.

               ii. (3)(A) The parties agree to make initial disclosures by May 6, 2022 without
                   any changes to the form or requirement for disclosures under Rule 26(a);

              iii. (3)(B) Plaintiff will seek discovery related to all questions of law and fact
                   raised in the Complaint. These include but are not limited to the following
                   subjects:

                         Defendants’ conduct pertaining to the investigation, arrest, and
                          prosecution of Mr. Cardona;

                         The disciplinary investigation of Defendants by the Pasadena Police
                          Department regarding Mr. Cardona;



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                  The Pasadena Police Department’s policies, practices, and
                   procedures;

                  Defendants’ electronic, digital, and other communications regarding
                   the investigation, arrest, and prosecution of Mr. Cardona;

      iv. (3)(B) The parties propose the following discovery schedule: Plaintiff’s
          expert reports by August 15, 2022; Defendants’ expert reports by
          September 19, 2022; discovery completed by December 16, 2022;
          dispositive motions by February 14, 2023; pretrial disclosures by March 15,
          2023; motions in limine by May 8, 2023; trial on May 15, 2023.

       v. (3)(B) At this point in the litigation, in which only individual Defendants
          who have asserted qualified immunity are sued, discovery should not be
          conducted in phases or limited to or focused on particular issues other than
          those issues that are relevant to the claims and defenses at issue in the
          litigation and are proportional to the needs of the case.

      vi.    (3)(C) Plaintiff and Defendants have agreed to a proposed order governing
            the production of electronically stored information, attached as Exhibit 1.

      vii. (3)(D) The parties do not anticipate that privileged or otherwise protected
           information will be exchanged during discovery in this matter. Therefore,
           no order under Federal Rule of Evidence 502 is necessary at present.

     viii. (3)(E) The parties agree that no changes should be made in the limitations
           on discovery imposed under these rules or by local rule, and no other
           limitations should be imposed other than those established under
           precedential governing authority, including but not limited to proper
           application of qualified immunity.

      ix.    (3)(F) Aside from the ESI order referenced in 3(c) above, the parties agree
            that the Court should not issue any other orders under Rule 26(c) or Rule
            16(b) and (c), beyond its standard Scheduling/Docket Control Order

b. When and to whom the plaintiff anticipates it may send interrogatories.
      Mr. Cardona anticipates sending interrogatories to all Defendants, as well
         as to any other people or organizational representatives who may possess
         relevant evidence, by November 16, 2022.

c. When and to whom the defendant anticipates it may send interrogatories.
      Defendants anticipate sending interrogatories to Mr. Cardona by November
         16, 2022.

d. Of whom and by when the plaintiff anticipates taking oral depositions.


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                        Mr. Cardona anticipates taking oral depositions of all Defendants,
                         individuals they may have communicated with about Mr. Cardona’s arrest,
                         other members of the Pasadena Police Department, as well as anyone else
                         who may possess relevant information, by December 16, 2022.

            e. Of whom and by when the defendants anticipate taking oral depositions.
                   Defendants anticipate taking oral depositions of Mr. Cardona and,
                     potentially, his partner who was in his car at the time of the incident.

            f. When the plaintiff (or the party with the burden of proof on an issue) will be able
               to designate experts and provide the reports required by Rule 27(a)(2)(B), and
               when the opposing party will be able to designate responsive experts and provide
               their reports.
                    Mr. Cardona will designate experts and provide the requisite reports by
                       August 15, 2022, Defendants will designate experts and provide the
                       requisite reports by September 19, 2022. Mr. Cardona requests—though as
                       explained in #11 below, Defendants object to—a rebuttal expert designation
                       and disclosure deadline of October 24, 2022.

            g. List expert depositions the plaintiff (or the party with the burden of proof on an
               issue) anticipates taking and their anticipated completion date. See Rule
               26(a)(2)(B) (expert report).
                    Mr. Cardona anticipates taking depositions of any experts designated by
                       Defendants by December 16, 2022.

            h. List expert depositions the opposing party anticipates taking and their anticipated
               completion date. See Rule 27(a)(2)(B) (expert report).
                    Defendants anticipate taking depositions of any experts designated by
                       Plaintiff by December 16, 2022.

    11. If the parties are not agreed on a part of the discovery plan, describe the separate views
        and proposals of each party.
              The parties agree to the discovery plan except for the procedure regarding
                 designation of Mr. Cardona’s rebuttal experts and any associated reports. Mr.
                 Cardona requests an opportunity to designate rebuttal experts five weeks after
                 Defendants designate their experts—the same amount of time Defendants have to
                 designate experts after Mr. Cardona designates his initial experts. Mr. Cardona’s
                 request for an opportunity to designate rebuttal experts is grounded in Rule
                 26(a)(2)(D)(ii) of the Federal Rules of Civil Procedure as well as the standard
                 practice of permitting plaintiffs to designate experts for the exclusive purpose of
                 rebutting points raised by defendants’ experts.1

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 See, e.g., M/T King Dorian Tankschiffahrts GmbH & Co. v. Anchor Marine & Indus. Supply, Inc., No. CV H-16-
1060, 2018 WL 8732183, at *2 (S.D. Tex. May 14, 2018); see also Zamora v. Hays Consol. Indep. Sch. Dist., No.
1:19-CV-1087-SH, 2020 WL 6528077, at *1 (W.D. Tex. Nov. 5, 2020); Fan Co., LLC v. Pepco Licensed Prod.,
Inc., No. SA-09-CA-1029-FB, 2011 WL 13269084, at *5 (W.D. Tex. Apr. 27, 2011).


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                 Plaintiff’s Position:

                     Mr. Cardona contends that because he bears the burden of proof, and because any
                      rebuttal expert designations by him would be “intended solely to contradict or
                      rebut evidence on the same subject matter identified by [Defendants] under Rule
                      26(a)(2)(B) or (C),”2—an opportunity Defendants already enjoy by virtue of a
                      designation deadline that follows that of Mr. Cardona—there would be no basis
                      for Defendants to make additional expert designations. The only scenario in which
                      Defendants would be justified in designating their own surrebuttal experts would
                      be if Mr. Cardona’s rebuttal experts broached new subject areas not already raised
                      by Defendants’ experts, in which case they (Mr. Cardona’s rebuttal experts) would
                      not be proper rebuttal evidence in the first place. As such, Mr. Cardona contends
                      there is no reason to deviate from the standard practice of allowing a plaintiff the
                      opportunity to designate rebuttal experts following the defendants’ expert
                      designations.

                 Defendants’ Position:

                     Defendants object to allowing Mr. Cardona the opportunity to make rebuttal expert
                      designations and/or disclosures. In the event the Court grants Plaintiff’s rebuttal
                      experts, Defendants will seek leave to make additional surrebuttal expert
                      designations and disclosures in response to Mr. Cardona’s rebuttal designations
                      and disclosures.

       12. Specify the discovery beyond initial disclosures that has been undertaken to date.
                None.

       13. State the date the planned discovery can reasonably be completed.
                December 16, 2022.

       14. Describe the possibilities for a prompt settlement or resolution of the case that were
           discussed in your Rule 26(f) meeting.
                A prompt settlement or resolution does not appear likely at this time.

       15. Describe what each party has done or agreed to do to bring about a prompt resolution.
               Parties agree to continue to participate in good-faith settlement negotiations
                  throughout the duration of this case.

       16. From the attorneys’ discussion with the client, state the alternative dispute resolution
           techniques that are reasonably suitable, and state when such a technique may be effectively
           used in this case.
                Parties agree that no alternative dispute resolution would be appropriate prior to
                   the resolution of dispositive motions.

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    Fed. R. Civ. Pro. 26(a)(2)(D)(ii).

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17. Magistrate judges may now hear jury and non-jury trials. Indicate the parties’ joint
    position on a trial before a magistrate judge.
         The parties do not consent to a trial before a magistrate judge.

18. State whether a jury demand has been made and if it was made on time.
         Mr. Cardona timely made his jury demand on the face of the Complaint (Doc. 1).

19. Specify the number of hours it will take to present the evidence in this case.
         Approximately 25 hours.

20. List pending motions that could be ruled on at the initial pretrial and scheduling
    conference.
         Defendants’ Motion to Dismiss (Doc. 11).

21. List other motions pending.
          There are no other motions pending.

22. Indicate other matters peculiar to this case, including discovery, that deserve the special
    attention of the court at the conference.
         None.

23. List the names, bar numbers, addresses and telephone numbers of all counsel.

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Dated: May 4, 2022                             Respectfully Submitted,


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                        CERTIFICATE OF SERVICE

I certify that I electronically filed the foregoing using the CM/ECF System.




Dated: May 4, 2022
                                     Jeffrey D. Stein




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